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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )             CASE NO. 8:12CR56
                                           )
             Plaintiff,                    )
                                           )
             vs.                           )
                                           )                    ORDER
DAVID LEE KLEENSANG and                    )
BERNITA MARGARET KLEENSANG,                )
                                           )
             Defendants.                   )

      This matter is before the Court on the motion to reconsider (Filing No. 94) the

Court’s previous Memorandum and Order (Filing No. 71) filed by a nonparty, Mary Hardy.

      In the previous Memorandum and Order, the Court adopted the Magistrate Judge’s

Findings and Recommendation and denied Ms. Hardy’s motion to quash.

      IT IS ORDERED:

      1.     The motion to reconsider (Filing No. 94) filed by nonparty Mary Hardy is

             denied; and

      3.     The Clerk is directed to mail a copy of this Memorandum and Order to the

             movant, Mary Hardy, at her last known address.

      DATED this 14th day of June, 2012.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               Chief United States District Judge
